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                                           7                IN THE UNITED STATES DISTRICT COURT
                                           8
                                                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                               ROBERT O. GILMORE, et al.,
For the Northern District of California




                                          11                                             No. C 66-45878 SI
    United States District Court




                                          12              Plaintiffs,
                                                 v.                                      ORDER RE: MOTION FOR
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                                                                                         INJUNCTIVE RELIEF OF
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                                               PEOPLE OF THE STATE OF                    CONTEMPT
                                          15   CALIFORNIA,
                                          16
                                                          Defendant.
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                                                     Prisoner Robert Tunstall has filed a “Motion for Injunctive Relief for
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                                               Contempt.” (Docket No. 326). Tunstall complains that he has been denied
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                                               sufficient access to the prison law library, in particular the law computer.
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                                               Tunstall states that he is vision impaired and cannot read small print, and
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                                               while the law library lacks large print books, the law computer can display
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                                               large print. Tunstall seeks a temporary injunction requiring the warden of
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                                               California Medical Facility, where he is incarcerated, to provide him with law
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                                               library and law computer access.
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                                                  Case 3:66-cv-45878-SI Document 328 Filed 09/07/10 Page 2 of 2



                                           1         Tunstall previously filed two motions in this case regarding his law
                                           2   library access, one in 2008 and another in 2009. The Court previously
                                           3   directed him to consult with plaintiffs’ counsel at the Prison Law Office
                                           4   regarding his grievances. However, after Tunstall’s previous letters,
                                           5   the Gilmore action has been settled by the parties and is now closed.
                                           6   Therefore, the Court cannot continue to accept motions in this case.
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                                           8         The Court advises Tunstall to again contact the Prison Law Office, 1917
                                           9   Fifth Street, Berkeley, California, 94710 if he wishes to pursue an independent
                                          10   legal action.
For the Northern District of California




                                          11
    United States District Court




                                          12        IT IS SO ORDERED.
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                                               Dated: September 7, 2010
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                                          16                                              SUSAN ILLSTON
                                          17                                              United States District Judge
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